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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                       NORFOLK DIVISION



  THE COLEMAN COMPANY,INC.,

          Plaintiff/Counter-Defendant,
                                                                CIVIL NO.2:20cv351
          V.



  TEAM WORLDWIDE CORPORATION,

          Defendant/Counter-Plaintiff,

  and


  CHENG-CHUNG WANG,

          Counter-Plaintiff.



                                                ORDER


          This matter comes before the Court on Team Worldwide Corporation s( Defendant ),

  Motion to Leave to File Supplemental Expert Discovery. EOF No. 244. For the reasons below,
  the Motion is DENIED. ECF No. 244.

     I.        PROCEDURAL HISTORY

          On June 29, 2020, The Coleman Company, Inc. ("Plaintiff) filed the instant lawsuit
  against Defendant alleging one count ofInfringement ofthe '618 Patent. ECF No. 1 at 5. Count
  One alleges the following: "[Defendant] has been and is infringing at least claim 13 of the '618
  Patent, either literally or under the doctrine of equivalents, by making, using, selling, offering for
  sale, and/or importing for sale in the United States, including within this judicial district, without
  license or authority, products covered by the '618 patent,including,for example,the 618 Accused
  Products." Id. at 7.

          On November 11,2020,Defendant filed its answer to Plaintiffs Complaint,including three
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  counterclaim counts. ECF No. 18. On February 16,2021,this Court granted leave for Defendant
  to file an amended answer, adding in Mr. Wang as a necessary party. ECF No. 47. Defendant
  filed its Amended Answer and Counterclaim on March 1, 2021, including the same three
  counterclaim counts. These three counts include:

            • Count I: Declaratory Judgment of Non-Infringement ofthe '618 Patent
            • Count II: Declaratory Judgment ofthe Invalidity of the'618 Patent

            • Count III: Counterclaim for Infringement of the '926 Patent

  ECF No.47 at 12-14.

         On February 18, 2021, the parties submitted their Joint Statement on Claim Construction
  in which they identified eleven disputed terms from the Asserted Patents and provided proposed
  constructions. ECF No. 48-1. The Court issued its original Markman hearing order on May 5,

  2021. ECF No.71. On October 21,2021,Plaintifffiled its summaryjudgment motion("Plaintiffs
  Summary Judgment Motion")asking the Court for a ruling ofinfringement ofthe 618 Patent and
  noninfringement ofthe '926 Patent. ECF Nos. 134,135. On November 10,2021, Defendant filed
  its summary judgment motion ("Defendant's Summary Judgment Motion") asking for a ruling of
  invalidity ofthe '618 Patent and validity ofthe '926 Patent. ECF Nos. 170,171.
         During the summary judgment motions on validity of the patents, the parties began to
  dispute the meaning ofthe term "mattress coil" as used in the '618 Patent, which was not included
  in the original Markman hearing. The Court asked for briefing, ECF No. 214, and interpreted the
  term "mattress coil" in its summary judgment order issued on February 4, 2022. ECF No. 232 at
  10.


         Defendant filed its Motion for Leave on February 16, 2022, asserting that the Court's
  construction implicated different prior art and asking leave to supplement its validity expert s
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 report. ECF Nos. 244,245. Plaintifffiled its response in opposition on March 2,2022. ECFNo.
 255. Defendant filed a reply on March 8,2022. ECF No. 258,
           The Motion is now ripe for consideration.

     11.      LEGAL STANDARDS

           Federal Rule ofCivil Procedure 16 generally governs scheduling cases. A scheduling order
  is issued per Rule 16(b), which "may be modified only for good cause and with the judge's
  consent." Fed. R. Civ. Pro. 16(b)(4). Rule 26 deals with general provisions regarding discovery
  and, as relevant here, states that additions or changes to any expert reports must be disclosed by
  the time a party's pretrial disclosures are due under Rule 26(a)(3). Fed. R. Civ. Pro. 26(e)(2).
  Pretrial disclosures are generally due at least 30 days before trial but were due in this case on
  February 8,2022. Fed. R. Civ. Pro. 26(a)(3)(B); ECF No. 107,

           When analyzing good cause, "courts generally weigh the danger of prejudice to the non-
  moving party, the length of delay and its potential impact on judicial proceedings, the reason for
  the delay, and whether the movant acted in good faith." AMBIMJB. LLC v. Strategic Armory
  Corns. LLC. Civil No. JKB-20-807, 2020 WL 5798366, at *3(D. Md. Sept. 29, 2020)(internal

  quotations omitted). Particularly relevant is the moving party's diligence in asking for the
  extension. Reese v. Va. Intern. Terminals. Inc., 286 F.R.D. 282,285(E.D. Va. 2012).

           Few courts have considered whether a new patent claim construction in a summary

 judgment order represents good cause, but the few courts that have found claim construction does
  not constitute good cause. See, e.g.. Fisher & Pavkel Healthcare Limited v. Flexicare Inc., Case
  No. SACV 19-835 JVS, 2021 WL 5994968, at *3 (C.D. Cal. Sept. 16, 2021). The Fish^ court
  noted that, when examining the issue, the "key is whether[a party] could have anticipated that the
  Court might have adopted the constructions that it did." Id.
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     III.      DEFENDANT'S MOTION TO LEAVE

         Defendant argues that good cause exists because the Court's construction of the word
 "coil" was one that neither party advanced and "[Defendant's] expert could not have anticipated,
  nor responded to, the Court's construction of'coil' until after the order issued." ECF No. 245 at
  2. Plaintiff responds that the Court's construction could have been anticipated because the Court
 stated that Plaintiffs proposed definition "resembles the structure of the coils in the '618 Patent."
 ECF No. 255 at 6-7(quoting ECF No. 232 at 10). Plaintiff also contends that this interpretation
  was based off the '618 Patent's language and prosecution history. ECF No. 255 at 7. Defendant
  replies by noting Plaintiff is not prejudiced since trial is more than four months away and that it
  has already had access to the prior art it proposes to add to its report. ECF No.258 at 2. Defendant
  also notes that several courts across the country have implemented specific patent rules stating
  claim construction may be good cause to supplement expert discovery. Id at 5-8.
            The Court finds Defendant lacks good cause for leave to supplement. On February 4,2022,
  the Court issued its summary judgment order, which interpreted the word "coil." ECF No. 232 at
  10. The Court arrived at the following definition: "flexible structures possessing spaced elongate
  members that extend continuously from the first to the second panel. Id. It arrived at this
  definition based on the prosecution history and the specification language describing the coils in
  the'618 Patent. Id.

            Defendant claims this construction was unforeseeable, but the Court disagrees. In fact, the

  Court's definition focuses largely on the specification of the '618 Patent, which is exactly what
  Plaintiffs validity expert. Dr. Wayne Li, identified as the proper scope of the definition in his
  August 17,2021 deposition. ^ECF No. 175-4 at 6(pointing to various lines in the '618 Patent
  specification for his definition of"coil"). It is this definition that Defendant had an issue with in
  its summary judgment motion on validity, which was submitted to the Court on November 10,
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 2021. ECF No. 171 at 16. Defendant itself even acknowledged in its summary judgment motion
 that Dr. Li relied on a definition where "each coil has a first elongate member and the spaced
  second elongate member joined at one end to a first plate and a spaced second end to a second
  plate." Id.

         Defendant supports its position by insisting other courts with significant patent litigation
  have specific rules allowing supplementation for term construction where the parties did not
  propose the Court's adopted definition. ECF No. 258 at 5-8. However,in reviewing those rules,
  the Court finds them permissive, not mandatory. See id.(citing rules that use the term may in
  determining whether such circumstances constitute good cause under Rule 16). Additionally,
  Plaintiff proposed the following definition on January 19,2022 when asked to briefthe issue: At
  least two closely spaced elongate members connecting a mattress top and bottom surface to
  approximate the size and stability of a conventional spring mattress coil." ECF No. 217 at 2. As
  the Court noted in its summaryjudgment order when defining "coil,""[t]he Court finds Plaintiffs
  definition more closely resembles the structure of the coils in the *618 Patent." ECF No. 232 at
  10. Therefore, while no party proposed a word for word definition that the Court adopted.
  Plaintiffs proposed definition significantly matched the definition given by the Court. Therefore,
  the Court finds Plaintiffs proposed definition similar enough to the Court's definition to find
  Plaintiff functionally proposed the adopted definition by the Court.

         As stated, the Court's definition of the word '*coil" is substantially similar to Dr. Li's
  working definition, which Defendant had knowledge of at least as early as August 17, 2022, the
  date of Dr. Li's deposition. Additionally, the Court's definition is substantially similar to the one
  proposed by Plaintiffon January 19,2022. For these reasons,the Court finds that Defendant could
  have anticipated the Court's definition much earlier than its current Motion for Leave. FislM>
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 2021 WL 5994968,at *3. Accordingly,the Court finds that Defendant was not diligent in seeking
 leave and holds no good cause has been shown here. Therefore, Defendant's Motion for Leave
  must be DENIED. EOF No. 244.

        IT IS SO ORDERED.



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  Norfolk, VA
  March '\2022
